                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. 17-CR-2045-LRR
 vs.                                              ORDER REGARDING
                                             MAGISTRATE’S REPORT AND
 ALEXANDER MARTIN,                                RECOMMENDATION
                                              CONCERNING DEFENDANT’S
               Defendant.                            GUILTY PLEA
                                ____________________

                      I. INTRODUCTION AND BACKGROUND
       On July 10, 2017, a six-count Indictment was filed against Defendant
Alexander Martin. On February 20, 2018, Defendant appeared before United States Chief
Magistrate Judge C.J. Williams and entered a plea of guilty to Count 1 of the Indictment.
On February 20, 2018, Judge Williams filed a Report and Recommendation in which he
recommended that Defendant’s guilty plea be accepted. No objections to Judge Williams’s
Report and Recommendation were filed. The court, therefore, undertakes the necessary
review of Judge Williams’s recommendation to accept Defendant’s plea in this case.
                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Criminal Procedure 59(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions, where
objections are made, as follows:



   Case 6:17-cr-02045-CJW-MAR          Document 195      Filed 03/07/18    Page 1 of 2
              The district judge must consider de novo any objection to the
              magistrate judge’s recommendation. The district judge may
              accept, reject, or modify the recommendation, receive further
              evidence, or resubmit the matter to the magistrate judge with
              instructions.
Fed. R. Crim. P. 59(b)(3).1
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Williams’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Williams’s Report and Recommendation of
February 20, 2018, and ACCEPTS Defendant’s plea of guilty in this case to Count 1 of
the Indictment.
       IT IS SO ORDERED.
       DATED this 7th day of March, 2018.




      1
         United States v. Cortez-Hernandez, 673 F. App’x 587, 590-91 (8th Cir. 2016)
(per curiam), suggests that a defendant may have the right to de novo review of a
magistrate judge’s recommendation to accept a plea of guilty even if no objection is filed.
But see 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). The district court judge will
undertake a de novo review of the Report and Recommendation if a written request for
such review is filed within fourteen days after this order is filed.

                                            2

   Case 6:17-cr-02045-CJW-MAR          Document 195      Filed 03/07/18    Page 2 of 2
